                                                                                                                                      sylvester Turner
                                        CITY             OF       HOUSTON
     .
                                                                                                                                       Mayor
                                                                  Houston          Public Works
                                                                                                                                      Carol Ellinger Haddock, P.E.
 ,
                                                                                                                                      Director
                                                                                                                                      P.O. Box 1562
                                                                                                                                      Houston, Texas 77251-1562

                                                                                                                                       832-395-2500
                                                                                                                                       www.publicworks.houstentx.qov




         August         10,    2018

         Dr. Juan Jose Sanchez, CEO
         Southwest Key Programs
         6002 Jain Lane
         Austin, TX 78721

          RE:     Southwest Key Programs Properties

          Dear Mr. Juan.J. Sanchez,

         Thank you for your timely response.

         To address the question posed in your letter the Certificate of Occupancy issued                                                  for    the    facillty   at   419
         Emancipation is not valid for the Intended use as stated In your letters.

         The facillty was originally permitted as a Group R1 occupancy (i.e. hotels, motels, and shelters), and based upon
         subsequent statements provided by Southwest Key, it has been determined the proposed use does not comply
         with the existing Certificate of Occupancy. (See attached letters.) Please note that at this time, the exlsting
         Certificate of Occupancy has not been revoked; however, it is not valid for the Intended use.

          My     office                   decision based upon dlscrepancies that were noted In your written statements. Your
                              has come to this
          facility was originally permitted as a women's shelter. However, you have since stated that the facility will be used
          at least partially for childcare and/or custodial care of unaccompanled   minors. Unaccompanied minors, regardless
          of how they've become "unaccompanled",        are not appropriate occupants for an R1 occupancy.


          To proceed with your plans for this apparent                          change     of use,   please submlt two complete            sets   of    plans for review
          to the Houston Permitting Center.


          Furthermore, at this time we cannot comply wlth your request to contact the Texas Department of Health and
          Human Services on your behalf. Based upon the Information provided, we are unable to confirm that the existlng
          Certlficate of Occupancy is appropriate for your intended use.

          Thank you for your prompt attention                   to this    matter,




         kark Savasta   fÆÏVI, , CBO, MCP                                                      Chief Richard Mann
          Houston Bpiding Official                                                             Houston Fire Department
          Houston Permitting Center                                                            (832) 394-6702
          (832) 394-9555

                                                                                EXHIBIT 5
                                                               R. Òohen         Dwight A. Boykins Dave Martin Steve Le   Greg Travls       Karla Cisneros   Robert Gallegos
Council Members:         Brenda Stardig  Jerry Davis     Ellen
                                                     Mlke Knox                  Robinson Michael Kubosh Amanda K. Edwards    Jack Christle, D.C.       Controller Chris B. Brown
               Mike   Laster Martha Castex-Tatum                   David   W.
